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                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

BIOCURE, LLC                                     §
                                                 §
         Plaintiff,                              §
                                                 §
VS.                                              §     CIVIL ACTION NO:
                                                 §     Jury Demanded
JOSEPH FAZIO and                                 §
AT HOME INFUSION SERVICES, LLC                   §
                                                 §
         Defendants.                             §

                     PLAINTIFF’S ORIGINAL COMPLAINT AND
               APPLICATION FOR TEMPORARY RESTRAINING ORDER,
             PRELIMINARY INJUNCTION AND PERMANENT INJUNCTION

TO THE HONORABLE JUDGE OF THE DISTRICT COURT:

         Plaintiff BioCure, LLC (“BioCure”) files this Original Complaint and Application for

Temporary Restraining Order, Preliminary Injunction, and Permanent Injunction against

Defendants Joseph Fazio and At Home Infusion Services, LLC (“AHIS”), (collectively referred

to as “Defendants”) as follows.

                                  NATURE OF THE ACTION

   1.        This is an action for breach of contract, misappropriation of trade secrets, breach of

fiduciary duties, and tortious interference with contracts and business relationships. BioCure

seeks a temporary restraining order, temporary injunction, and permanent injunction, in addition

to compensatory damages.

   2.        Fazio is violating his contractual obligations pursuant to his employment agreement

with BioCure, as well as by applicable law, by misappropriating BioCure’s confidential and

trade secret business and customer information and violating restrictive covenants contained in

his contract with BioCure.
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   3.       BioCure seeks to enjoin the Defendants from (i) soliciting certain BioCure clients in

violation of Fazio’s agreement, and (ii) using or disclosing BioCure’s confidential and trade

secret information.

                                            PARTIES

   4.       BioCure, LLC is a limited liability company organized under the laws of Texas with

its principal place of business in Houston, Texas.

   5.       Joseph Fazio is an individual residing in the State of Florida and may be served with

process at 12111 NW 2nd Dr., Coral Springs, Florida 33071.

   6.       At Home Infusion Services, LLC is a limited liability company organized under the

laws of Florida with its principal place of business in Boca Raton, Florida. At Home Infusion

Services may be served with process by serving its registered agent for service of process,

Corporation Service Company at 1201 Hays Street, Tallahassee, Florida 32301.

                                JURISDICTION AND VENUE

   7.       This Court has jurisdiction over this lawsuit under 28 U.S.C. § 1332 because BioCure

and Defendants are residents of different states and the amount in controversy exceeds $75,000,

excluding interest and costs.

   8.       Venue is proper in this Court because the contract between BioCure and Fazio that

serves as the basis for this lawsuit contains a provision mandating that the courts located in

Harris County, Texas serve as the exclusive venue for any action related to the agreement.

                                   BACKGROUND FACTS

   9.       The factual allegations on which the Plaintiff bases its Application for Temporary

Restraining Order are verified by the affidavits of Deanna Bermingham, Staci Szuba, and Khang
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Dang, attached hereto as Exhibit 1, Exhibit 2 and Exhibit 3, respectively. The facts recited in

these affidavits are incorporated herein by reference.

   10.     BioCure is a specialty pharmacy. It works with doctors and their patients to provide

unique, occasionally rare medication for the treatment of various chronic illnesses.

   11.     BioCure employs sales personnel to develop relationships and goodwill with

physicians and healthcare practices around the country. This business goodwill is responsible for

physicians referring their patients to BioCure for obtaining their medication. A physician’s

recommendation or referral is often the primary factor in a patient’s decision to choose a

specialty pharmacy.

Fazio’s BioCure Employment

   12.     Joseph Fazio worked for BioCure for approximately two years, beginning his

employment in or around January of 2015. His official title was an Ig Specialty Account

Manager. Fazio was a salesperson on BioCure’s intravenous immunoglobulin (“IVIg”) sales

team. IVIg medications are used to treat various neurological diseases, immune system disorders

and other rare conditions. Fazio’s territory consisted of southern Florida.

   13.     As part of his duties while employed at BioCure, Fazio often communicated with

physicians and their staff members. He occasionally communicated with patients. Fazio was the

primary contact for the physicians and patents in his sales territory. He learned a great deal of

confidential information about these physicians and patients. For example, he learned what

conditions and ailments the patients were suffering from in addition to the type and amount of

medication they required. Fazio also learned about the type of patients seen at a physician’s

practice and the amount of medication being dispensed to treat a physician’s patients.

Consequently, Fazio learned the amount of revenue a specific physician or practice could
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generate for a pharmacy. Fazio also received company sales reports and other information

confidential to BioCure such as revenue data, sales strategies, marketing strategies, budgets,

sales forecasts, compensation plans and internal business and operations plans.

Fazio’s Resignation from BioCure

       14.      Fazio tendered his two-week resignation notice to BioCure on or about December 14,

2016. 1 Fazio did not inform anyone at BioCure about his post-employment plans. But in the

weeks leading up to his resignation, Fazio began secretly e-mailing himself patient information,

company sales data, prospective client lists, and other information he contractually agreed to

keep confidential. 2 Much of this information qualifies as a trade secret under the Texas Uniform

Trade Secrets Act. See TEX. CIV. PRAC. & REM. CODE § 134A.002(6).

       15.      While still employed by BioCure, Fazio began recruiting BioCure clients for his

soon-to-be employer AHIS. 3 After discussing Fazio’s prospective employer with a BioCure

client for months, one of BioCure’s clients agreed to switch to AHIS in an e-mail sent to Fazio

on his last day with BioCure. 4

       16.      BioCure did not become aware of Fazio’s employment with AHIS until more than a

month after he left BioCure. Despite Fazio signing a covenant not to compete with BioCure, he

would not be in violation of the agreement as long as he did not solicit his BioCure clients.

BioCure was cautiously optimistic that Fazio would honor his post-employment obligations.




1
    See Exhibit 1.
2
    See id.
3
    See id.
4
    See id.
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Fazio’s Violations of his Contractual and Fiduciary Obligations

       17.      Shortly after learning of Fazio’s new employment, BioCure was attempting to contact

one of its Florida IVIg patients for a prescription refill and to schedule an infusion session at the

patient’s home. 5 After several attempts, BioCure was able to speak with this patient on or about

February 22, 2017. 6 The patient informed BioCure that Defendant Fazio had called her directly

in the preceding weeks and had scheduled an infusion session for that same day. 7 The patient

was informed that the nurse administering the infusion would also be delivering the refill

medication. 8 The patient was not aware that Joe Fazio was no longer employed with BioCure. 9

Upon information and belief, this patient is now being serviced by Fazio’s new employer.

       18.      After receiving confirmation that Fazio was willfully violating his covenant not to

compete, BioCure asked its IT Department to retrieve e-mails from Fazio’s company account. 10

BioCure then discovered that Fazio had been planning his move to AHIS for months. 11 He had

been mentioning AHIS and its parent company Kabafusion to at least one of BioCure’s clients in

early October. 12

       19.      During his last weeks at BioCure, Fazio sent information regarding BioCure’s clients

and prospective clients to his personal e-mail account. 13 Fazio also sent company sales data and

marketing strategies to his personal e-mail account. 14


5
    See Exhibit 2.
6
    See id.
7
    See id.
8
    See id.
9
    See id.
10
     See Exhibit 1 and Exhibit 3.
11
     See Exhibit 1.
12
     See id.
13
     See id.
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       20.     Over the past several months, including times when Fazio was still employed with

BioCure and receiving compensation from BioCure, Fazio has been acting in concert with AHIS

to violate the Agreement and common law obligations owed to BioCure. 15 Indeed, Fazio was

soliciting business for AHIS while still working for BioCure. 16 Upon information and belief,

AHIS was aware that Fazio was violating his Agreement and duties owed to BioCure and was

actively encouraging Fazio to do so.

       21.     Fazio and AHIS have wrongfully acquired confidential information belonging to

BioCure. They have conspired to raid BioCure’s clients in southern Florida by misappropriating

client information and prospect lists.     Fazio has personally taken advantage of BioCure’s

goodwill by contacting at least one BioCure patient to produce business for AHIS while leaving

the patient with the impression that he was still working with BioCure. Upon information and

belief, AHIS has supported and induced Fazio’s behavior. At a minimum, AHIS is benefitting

financially from Fazio’s misdeeds.

Fazio’s Employment Agreement with BioCure

       22.     Throughout the course of his BioCure employment, Fazio was responsible for

managing and maintaining BioCure’s relationships with physicians and patients in south Florida,

ensuring that their needs were met and that they received superior service relative to BioCure’s

competition. Fazio also had responsibilities for securing new business. BioCure entrusted Fazio

with cultivating goodwill on BioCure’s behalf.

       23.     Because of the trust and confidence BioCure placed in Fazio to speak directly to

BioCure’s referring physicians and patients, in addition to the confidential information that


14
     See id.
15
     See id.
16
     See id.
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BioCure provided him, Fazio was required to sign a Confidentiality and Non-Competition

Agreement (“Agreement”). 17 This Agreement was designed to protect BioCure’s confidential

information and customer goodwill in the event Fazio resigned or his position was terminated.

       24.      Fazio made many promises in return for receiving BioCure’s confidential information

and sharing in BioCure’s goodwill. Fazio promised not to use or disclose BioCure’s confidential

information without BioCure’s consent. 18 Fazio also promised

                      that in the event of separation from employment with the
                      Company, whether such separation is voluntary or involuntary,
                      [Fazio] will not, for a period of twenty-four (24) months following
                      such separation, directly or indirectly: (i) solicit clients of the
                      Company, including referring physicians, for the purpose of selling
                      or providing products or services of the type sold or provided by
                      [Fazio] while employed by the Company; or (2) induce clients or
                      prospective clients of the Company, including referring physicians,
                      to terminate, cancel, not renew, not refer, or not place business
                      with the Company. 19

       25.      Fazio further agreed that if he violated the Agreement,

                      the Company shall be entitled, in addition to any other remedies
                      and damages available at law or in equity, to an injunction, without
                      posting any bond therefore, to prohibit the violation of such
                      covenants by the Employee and all persons or entities acting for or
                      with him in such violation and to mandate the return of documents
                      and records by the Employee. 20

       26.      Fazio terminated his BioCure employment in order to accept a similar position with

similar duties at AHIS and to unfairly compete against BioCure in violation of his Agreement.

AHIS induced Fazio to resign from BioCure and violate his contractual and legal duties to

BioCure. AHIS has willfully interfered with BioCure’s contract with Fazio. Fazio’s and AHIS’s

actions have proximately caused BioCure significant damages.
17
     See Exhibit 4.
18
     See id.
19
     See id.
20
     See id.
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   27.     Fazio and AHIS’s unlawful use and disclosure of BioCure’s confidential information

has caused injury to BioCure that cannot be quantified or remedied by monetary damages alone.

Similarly, the harm done to BioCure’s goodwill and client relationships cannot be remedied by

monetary damages.

                                              COUNT I

                                       Breach of Contract

   28.     BioCure incorporates all previous paragraphs by reference as if fully set forth herein.

   29.     The Agreement is a valid and enforceable contract, and BioCure has fully performed

all of its obligations under the Agreement.

   30.     Fazio is breaching the Agreement by failing to return BioCure’s confidential

information, disclosing BioCure’s confidential information, and soliciting BioCure’s clients in

violation of his covenant not to compete.

   31.     The non-solicitation provision of the Agreement is valid and enforceable because it is

ancillary to, or part of, an otherwise enforceable agreement at the time the agreement was made,

contains reasonable limitations as to time, geographic area, and scope of activity to be restrained,

and does not impose a greater restraint than necessary to protect BioCure’s goodwill or other

business interests.

   32.     The Agreement does not prohibit Fazio from competing against BioCure or working

for a competitor. It does, however, prohibit him from, directly or indirectly, soliciting BioCure

clients or inducing BioCure clients to terminate their business with BioCure.

   33.     As a result of Fazio’s breaches of the Agreement, BioCure has been injured and faced

irreparable injury. BioCure is threatened with losing clients, income and goodwill for which a
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remedy at law is inadequate and thus, Fazio must be enjoined and restrained by Order of this

Court.

                                            Count II

                              Misappropriation of Trade Secrets

    34.    BioCure incorporates all previous paragraphs by reference as if fully set forth herein.

    35.    The proprietary business and customer information that BioCure entrusted to Fazio

constitutes trade secrets pursuant to the Texas Uniform Trade Secrets Act. See Tex. Civ. Prac. &

Rem. Code § 134A.001 et seq. The information BioCure provided to Fazio “derives independent

economic value, actual or potential, from not being known to, and not being readily ascertainable

by proper means by, other persons who can obtain economic value from its disclosure or use.”

Tex. Civ. Prac. & Rem. Code § 134A.002(6). BioCure also made reasonable efforts to maintain

the secrecy of that information. See id.

    36.    Fazio and AHIS misappropriated and threaten to misappropriate BioCure’s trade

secrets.

    37.    The Defendants have been and will be unjustly enriched by the misappropriation of

BioCure’s trade secrets, and unless restrained, will continue to threaten to use, actually use,

divulge and otherwise misappropriate BioCure’s trade secrets and confidential information.

    38.    Actual or threatened misappropriation may be enjoined under the Texas Uniform

Trade Secrets Act. See Tex. Civ. Prac. & Rem. Code § 134A.003(a).

    39.    As a result of the Defendants’ misappropriation of BioCure’s trade secrets and

confidential information, BioCure is threatened with losing customers, income, and goodwill for

which a remedy at law is inadequate, and thus, the Defendants must be enjoined and restrained

by Court Order.
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                                             Count III

             Breach of Fiduciary Duty and Duty of Good Faith and Fair Dealing

   40.     BioCure incorporates all previous paragraphs by reference as if fully set forth herein.

   41.     Fazio’s employment at BioCure required him to be the face of the company with

respect to BioCure’s clients in southern Florida. Thus, Fazio was in a special relationship with

BioCure, one requiring his utmost fidelity, integrity and trust.

   42.     Fazio commenced a business relationship with AHIS—a BioCure competitor—prior

to resigning from BioCure. At a minimum, Fazio’s relationship with AHIS caused him to have

divided loyalties in violation of the fiduciary duties owed to BioCure.

   43.     As a result, BioCure has been injured and faces irreparable injury.         BioCure is

threatened with losing clients, income, and goodwill for which a remedy at law is inadequate and

thus, Fazio must be enjoined and restrained by Order of this Court.

                                             Count IV

                        Aiding and Inducing Breach of Fiduciary Duty

   44.     BioCure incorporates all previous paragraphs by reference as if fully set forth herein.

   45.     Upon information and belief, AHIS induced Fazio to breach his fiduciary and good

faith and fair dealing duties to BioCure despite knowing that Fazio had a special relationship

with BioCure requiring utmost fidelity, integrity and trust.

   46.     AHIS induced and caused Fazio to disclose BioCure’s confidential information.

Additionally, AHIS induced and caused Fazio to solicit BioCure clients and prospects on AHIS’s

behalf while Fazio was still employed by BioCure.
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   47.     AHIS provided substantial assistance to Fazio in causing injury to BioCure. AHIS’s

participation was a substantial factor in causing Fazio’s breaches of fiduciary duty and duty of

good faith and fair dealing.

                                              Count V

                      Tortious Interference with Business Relationships

   48.     BioCure incorporates all previous paragraphs by reference as if fully set forth herein.

   49.     Fazio has tortuously interfered with BioCure’s business relationships with BioCure’s

clients. This interference was willful and intentional and is a proximate cause of BioCure’s

damages.

   50.     By directing and/or participating in Fazio’s improper conduct, and accepting ill-

gotten gains from this improper conduct, AHIS too has tortuously interfered with BioCure’s

business relationships with BioCure’s clients. This interference was willful and intentional and

is the proximate cause of BioCure’s injury.

   51.     BioCure faces irreparable injury as a result of the Defendants’ actions. BioCure is

threatened with losing clients, income, and goodwill for which a remedy at law is inadequate and

thus, the Defendants must be enjoined and restrained by Court Order.

                                              Count VI

                               Tortious Interference with Contract

   52.     BioCure incorporates all previous paragraphs by reference as if fully set forth herein.

   53.     BioCure and Fazio entered into the Agreement, which is a valid and lawful contract.

   54.     The Agreement prohibits Fazio from competing against BioCure during his

employment. The Agreement restricts Fazio from soliciting the BioCure clients that he serviced
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after termination of his BioCure employment.         The Agreement also prohibits Fazio from

disclosing BioCure trade secrets and confidential information without BioCure’s consent.

   55.     AHIS has tortuously interfered with the Agreement. This interference was willful

and intentional and is a proximate cause of BioCure’s injury.

   56.     As a result of AHIS’s actions, BioCure has incurred damages.

                                           Count VII

                                           Conspiracy

   57.     BioCure incorporates all previous paragraphs by reference as if fully set forth herein.

   58.     Defendants Fazio and AHIS conspired together with the objective of improperly

competing against BioCure and/or facilitating the tortious actions described above.

   59.     Through this conspiracy, the Defendants had a meeting of the minds to compete

improperly with BioCure, so as to utilize or disclose BioCure’s confidential information, and

solicit BioCure’s clients and prospective business on behalf of a competing entity in violation of

restrictive covenants and applicable Texas law.

   60.     As a result of the Defendants’ actions, BioCure has been injured and faces irreparable

injury. BioCure has lost clients, is threatened with losing more clients, income and goodwill, all

of which has damaged BioCure.

                                           Count VIII

                        Application for Temporary Restraining Order

   61.     BioCure incorporates all previous paragraphs by reference as if fully set forth herein.

   62.     BioCure is entitled to immediate injunctive relief, including a temporary restraining

order for the Defendants’ improper conduct.
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   63.        Further, based on Fazio’s breach of his contractual and fiduciary obligations, use,

disclosure, inevitable disclosure, misappropriation of BioCure’s trade secrets and confidential

information, and other unfair competition against BioCure, including the improper solicitation of

BioCure’s clients and tortious interference with business relationships, BioCure can demonstrate

a probable right to recovery under each cause of action pleaded.

   64.        Similarly, BioCure can demonstrate a probably right to recovery under each cause of

action pleaded against AHIS given AHIS’s use, acquisition, misappropriation of BioCure’s trade

secrets, tortious interference with BioCure’s contractual and business relationships, and other

unfair competition against BioCure.

   65.        The Defendants’ improper conduct will most likely continue unless this Court

restrains them; therefore, BioCure is subject to imminent harm. Further, that harm will cause

irreparable injury to BioCure, including injury to BioCure’s client base, income, and goodwill

that cannot adequately be compensated through monetary damages.            Accordingly, BioCure

respectfully requests that the Court issue a temporary restraining order enjoining the Defendants

as follows:

         The Defendants shall not use or disclose BioCure’s trade secrets and confidential

         information, nor shall the Defendants attempt to acquire any additional trade secrets and

         confidential information belonging to BioCure;

         The Defendants shall return all confidential information and trade secrets belonging to

         BioCure in both hard copy and electronic form within 48 hours;

         The Defendants shall turnover to BioCure Fazio’s personal computer(s), mobile

         telephone(s), and any devices used to access BioCure’s trade secret and confidential

         information within 48 hours for forensic examination to determine how he has
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         disseminated any electronic information belonging to BioCure and to permanently

         remove such information from those devices; and

         The Defendants shall not, directly or indirectly, (i) solicit BioCure clients and prospective

         clients with whom Fazio serviced or contacted during his BioCure employment

         (including patients, physicians, physician offices and staff) for the purpose of selling or

         providing products or services of the type sold or provided by BioCure; or (ii) induce

         BioCure clients or prospective clients with whom Fazio serviced or contacted during his

         BioCure employment (including patients, physicians, physician offices and staff) to

         terminate, cancel, not renew, not refer, or not place business with the Company.

                                              Count IX

                       Request for Preliminary and Permanent Injunction

   66.      BioCure incorporates all previous paragraphs by reference as if fully set forth herein.

   67.      BioCure is entitled to a preliminary and permanent injunction restraining Fazio’s

breaches of his contractual and fiduciary obligations, use, disclosure, inevitable disclosure,

misappropriation of BioCure’s trade secrets and confidential information, and other unfair

competition against BioCure, including the improper solicitation of BioCure’s clients and

tortious interference with business relationships.

   68.      BioCure is entitled to a preliminary and permanent injunction restraining AHIS’s use,

acquisition, misappropriation of BioCure’s trade secrets, tortious interference with BioCure’s

contractual and business relationships, and other unfair competition against BioCure.

   69.      The Defendants’ misbehavior threatens BioCure with losing its clients, income, and

goodwill in amounts that may be impossible to determine. Therefore, BioCure respectfully

requests that the Court temporarily and permanently enjoin the Defendants as follows:
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         The Defendants shall not use or disclose BioCure’s trade secrets and confidential

         information, nor shall the Defendants attempt to acquire any additional trade secrets and

         confidential information belonging to BioCure;

         The Defendants shall return all confidential information and trade secrets belonging to

         BioCure in both hard copy and electronic form within 48 hours;

         The Defendants shall turnover to BioCure Fazio’s personal computer(s), mobile

         telephone(s), and any devices used to access BioCure’s trade secret and confidential

         information within 48 hours for forensic examination to determine how he has

         disseminated any electronic information belonging to BioCure and to permanently

         remove such information from those devices; and

         The Defendants shall not, directly or indirectly, (i) solicit BioCure clients and prospective

         clients with whom Fazio serviced or contacted during his BioCure employment

         (including patients, physicians, physician offices and staff) for the purpose of selling or

         providing products or services of the type sold or provided by BioCure; or (ii) induce

         BioCure clients or prospective clients with whom Fazio serviced or contacted during his

         BioCure employment (including patients, physicians, physician offices and staff) to

         terminate, cancel, not renew, not refer, or not place business with the Company.

                                       ATTORNEYS’ FEES

   70.      BioCure incorporates all previous paragraphs by reference as if fully set forth herein.

   71.      BioCure is entitled to recover reasonable and necessary attorneys’ fees under the

agreements at issue and all applicable statutes and authorities.

                                      PUNITIVE DAMAGES

   72.      BioCure incorporates all previous paragraphs by reference as if fully set forth herein.
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   73.      The Defendants’ tortious conduct was aggravated by willfulness, wantonness and

malice, which the law allows for the imposition of punitive damages. The Defendants’ conduct

was intentional, willful and without justification or excuse.

   74.      The Defendants’ actions were taken with gross indifference to BioCure’s rights and

with conscious intent to harm BioCure. To punish such actions and deter others from similar

wrongdoing, the Defendants should be assessed punitive damages in an amount to the

determined by the trier of fact.

                                         JURY DEMAND

   75.      BioCure demands a jury trial and tenders the appropriate fee with this complaint.

                                     PRAYER FOR RELIEF

   76.      The Plaintiff prays for the following relief:

         a. The Court should order that the Defendants, along with their agents, employers,

employees, parent companies, subsidiaries, and those persons in active concert or participation

with them, be enjoined through a temporary restraining order, preliminary injunction, and

permanent injunction as follows:

            1. The Defendants shall not use or disclose BioCure’s trade secrets and confidential

               information, nor shall the Defendants attempt to acquire any additional trade

               secrets and confidential information belonging to BioCure;

            2. The Defendants shall return all confidential information and trade secrets

               belonging to BioCure in both hard copy and electronic form within 48 hours;

            3. The Defendants shall turnover to BioCure Fazio’s personal computer(s), mobile

               telephone(s), and any devices used to access BioCure’s trade secret and

               confidential information within 48 hours for forensic examination to determine
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                  how he has disseminated any electronic information belonging to BioCure and to

                  permanently remove such information from those devices; and

               4. The Defendants shall not, directly or indirectly, (i) solicit BioCure clients and

                  prospective clients with whom Fazio serviced or contacted during his BioCure

                  employment (including patients, physicians, physician offices and staff) for the

                  purpose of selling or providing products or services of the type sold or provided

                  by BioCure; or (ii) induce BioCure clients or prospective clients with whom Fazio

                  serviced or contacted during his BioCure employment (including patients,

                  physicians, physician offices and staff) to terminate, cancel, not renew, not refer,

                  or not place business with the Company.

        b. The Court should award BioCure damages it has suffered, including but not limited to

lost profits, in an amount to be proven at trial;

        c. The Court should award BioCure attorneys’ fees and the costs of this action;

        d. The Court should award BioCure punitive damages;

        e. The Court should award BioCure applicable pre-judgment interest; and

        f. The Court should award BioCure all other legal and equitable relief to which BioCure

is entitled.



                                                    Respectfully submitted,

                                                     /s/ Kevin T. Kennedy
                                                    KEVIN T. KENNEDY
                                                    Texas State Bar No. 24009053
                                                    Federal Bar No. 305324
                                                    General Counsel
                                                    BioCure, LLC
                                                    8700 Commerce Park Dr., Suite 241
                                                    Houston, Texas 77036
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                                  Telephone: (832) 303-3873
                                  Facsimile: (855) 497-7957
                                  k.t.p.kennedy@gmail.com

                                  ATTORNEY IN CHARGE FOR DEFENDANT
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                                     VERIFICATION

STATE OF TEXAS              §
                            §
COUNTY OF HARRIS            §

        BEFORE ME, the undersigned authority, on this day personally appeared Khang Dang,
who being duly sworn upon oath, states that he is a duly authorized Chief Operating Officer of
BioCure, LLC, and that the information in the foregoing Original Complaint and Application for
Temporary Restraining Order, Preliminary Injunction and Permanent Injunction is true and
correct to the best of his knowledge and belief, either being within his personal knowledge or
having been prepared by company employees, under his direction, from company records. This
verification does not include the verification of any legal conclusion or legal contention.



                                           ______________________________
                                           Khang Dang

      SWORN TO and SUBSCRIBED before me on this 6th day of March, 2017, to certify
which witness my hand and seal of office.



                                           ______________________________
                                           Notary Public, State of Texas
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                              CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing Plaintiff’s Original
Complaint and Application for Temporary Restraining Order, Preliminary Injunction and
Permanent Injunction was made on this 6th day of March, 2017, by serving a copy via email, to
the Defendants as follows:

       Kabafusion / At Home Infusion Services
       General Counsel
       Maheen Junaid
       mjunaid@kabafusion.com

       Joseph Fazio
       joefazio24@gmail.com

                                                 /s/ Kevin T. Kennedy
                                                KEVIN T. KENNEDY
